872 F.2d 419
    Unpublished DispositionNOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Carlon Edward PITTMAN, Plaintiff-Appellant,v.James H. SNODGRASS, FacilityDirector (Unit 22)JAMES A. SMITH, JR., Regional Administrator (EasternRegion), Defendant- Appellee.
    No. 88-7800.
    United States Court of Appeals, Fourth Circuit.
    Submitted Dec. 20, 1988.Decided March 17, 1989.
    
      Carlon Edward Pittman, appellant pro se.
      Before WIDENER and CHAPMAN, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Carlon Edward Pittman appeals the district court's dismissal of this 42 U.S.C. Sec. 1983 action for failure to pay the assessed filing fee.  Finding that the district court properly complied with the procedures approved in Evans v. Croom, 650 F.2d 521 (4th Cir.1981), cert. denied, 454 U.S. 1153 (1982), and did not abuse its discretion in dismissing the action without prejudice, we affirm the district court's order.  We dispense with oral argument because the dispositive issues recently have been decided authoritatively.
    
    
      2
      AFFIRMED.
    
    